        Case 1:18-cv-00022-JB-SCY Document 9 Filed 02/09/18 Page 1 of 1



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

MEYALLI AGUIRRE,

       Plaintiff,

v.                                                           Case No. 1:18-cv-00022-JHR-SCY

SBM, and ARCY WILSON,

       Defendants.

                      ORDER TO ARBITRATE PLAINTIFF’S CLAIMS
                      AND STAY ACTION PENDING ARBITRATION

       In light of the parties’ Stipulation (Doc. 8), and good cause being shown,

IT IS HEREBY ORDERED:

       1.      Plaintiff Meyalli Aguirre is ordered to submit to final and binding arbitration,

pursuant to the Federal Arbitration Act and her agreement to arbitrate, her New Mexico Human

Rights Act claim against Defendants SBM and Arcy Wilson, and any other claims that could be

asserted, in the complaint in this action;

       2.      The action is stayed until the final determination of the arbitration proceedings.




                                                     ____________________________________
                                                     UNITED STATES MAGISTRATE JUDGE
